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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 23-cv-03415-GPG-CYC

FARM CREDIT LEASING SERVICES CORPORATION,

       Plaintiff,

v.

GOOD FORAGE, LLC, et al.,

       Defendants.

______________________________________________________________________________

                                  MINUTE ORDER
______________________________________________________________________________
Entered by Cyrus Y. Chung, United States Magistrate Judge, on January 13, 2025.

        For good cause shown, the Court hereby GRANTS IN PART the parties’ partially
unopposed motion to amend the scheduling order. ECF No. 75. The Court GRANTS the motion
to the extent that it asks the Court to extend the following deadlines:

       (1) Rule 30(b)(6) Deposition Deadline: February 18, 2025
       (2) Dispositive Motions Deadline: March 24, 2025

        The Court holds in abeyance defendant’s request for leave to schedule and serve notice of
the Rule 30(b)(6) Deposition without further conferral with Farm Credit’s counsel. The Court will
hear argument on this portion of the motion on February 4, 2025 at 2:00 p.m.

         At least four (4) business days prior to the hearing, the parties shall submit via email
(Chung_Chambers@cod.uscourts.gov) a brief joint statement setting out each party’s position
with regard to each dispute. The joint statement should not be filed on the Electronic Court Filing
system. The purpose of the Court’s discovery dispute procedures, including the requirement of a
joint statement in lieu of seriatim briefing, is to resolve the parties’ discovery disputes in the most
efficient and cost-effective manner possible. Thus, while the Court does not impose any specific
page limitation on the parties’ joint statement, the Court encourages the parties to be as succinct
as possible, presenting a short statement of each dispute with citations to legal authority where
appropriate. Any disputed discovery requests (such as objections or disputed 30(b)(6) notices)
should be attached as exhibits to the joint statement.
